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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 KANEKA CORPORATION,
 A Japanese Corporation,

                       Plaintiff,

               v.                                    C.A. No. 21-209-RGA

 DESIGNS FOR HEALTH, INC.,
 A Delaware Corporation and AMERICAN
 RIVER NUTRITION LLC, A Delaware
 Limited Liability Company,



                      Defendants.



                                    NOTICE OF SERVICE

       PLEASE TAKE NOTICE, that on May 26, 2021, a copy of (1) Kaneka Corporation’s

Initial Disclosures and (2) this Notice of Service were served on the following counsel of

record via email.

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